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[N THE UNITED STA'I`ES DISTRICT COURT FOR THE

DISTRICT OF MARYLAND
UNITED STATES OF AMERICA,
Plaintif’f, Case l:lo-cv-OSIO

\".

J.A. SUBWAY, lNC., and JAM|U laz*XW/*$i[_1

Dei`endants.

 

JUDGMENT
In accordance with the Court"s September 23, 20|6 Order (D.E. No. lS), judgment is
hereby entered against J.A. Subway in the amount ol` $26?,697.11 as of` August 31, 2016 plus
statutory interest accruing thereafter according to law for unpaid l`ederal employment taxes for
the taxable periods ending March 31, 2004, through March 31, 2015. inclusive; and for unpaid
federal unemployment taxes for the taxable periods ending December 3|` 2004, through

December 31, 2013, inclusive

ENTF.REothis 5 ?L‘\ dayofOc/MO` .20;£?

George L. Russell, lll
United States District Judge

 

